         Case 1:22-cv-00983-VEC Document 133
                                         132 Filed 03/02/23 Page 1 of 2

                                                                  DLA Piper LLP (US)
                                                                  1251 Avenue of the Americas
                                                                  27th Floor
                                                                  New York, New York 10020-1104
                                                                  www.dlapiper.com

                                                                  USDC SDNY
                                                                  DOCUMENT
March 2, 2023                                                     ELECTRONICALLY FILED
VIA ECF                                                           DOC #:
                                                                  DATE FILED: 03/02/2023
The Honorable Valerie Caproni
United States District Court
Southern District of New York
40 Foley Square, Room 240
New York, New York 10007
                                                                 MEMO ENDORSED
Re:    Nike, Inc. v. StockX LLC, No. 22 CV 00983 (VEC) (SN) (S.D.N.Y.)
       Joint Request for Adjournment of Pretrial Conference

Dear Judge Caproni:

        Pursuant to Magistrate Judge Netburn’s February 28, 2023 Order granting the Parties’
Letter Motion for Extension of Time to Complete Discovery (Dkt. No. 130), plaintiff Nike, Inc.
(“Nike”) and defendant StockX LLC (“StockX,” and together with Nike, the “Parties”)
respectfully request that the Court adjourn the March 17, 2023 pretrial conference (Dkt. No. 129),
to April 7, 2023 at 10:00 AM or a later date and time that is convenient for the Court. To the
extent the Court prefers to hold conferences on Fridays, the Parties are unavailable on Friday, April
14 and 28, 2023, but can be available on Friday, April 21, 2023.

       This is the second request to reschedule this pretrial conference. StockX’s first request for
an adjournment—to which Nike consented—was granted by the Court on February 15, 2023.
(Dkt. No. 129.)

       The Parties thank the Court for its attention to this matter.

Respectfully submitted,

 /s/ Tamar Y. Duvdevani                            /s/ Megan K. Bannigan
 DLA PIPER LLP (US)                                Megan K. Bannigan
                                                   David H. Bernstein
 Tamar Y. Duvdevani                                Jyotin Hamid
 Marc E. Miller                                    Justin Ferrone
 Andrew J. Peck                                    Kathryn C. Saba
 Jared Greenfield                                  Debevoise & Plimpton LLP
 1251 Avenue of The Americas, 27th Fl.             66 Hudson Boulevard
 New York, NY 10020                                New York, New York, 10001
 Telephone: (212) 335-4500                         Telephone: (212) 909-6000
 Facsimile: (212) 335-4501
           Case 1:22-cv-00983-VEC Document 133
                                           132 Filed 03/02/23 Page 2 of 2




 March 2, 2023
 Page Two


   Michael Fluhr                                Christopher S. Ford
   555 Mission Street, Suite 2400               Debevoise & Plimpton LLP
   San Francisco, CA 94105                      650 California Street
   Telephone: (415) 836-2500                    San Francisco, CA 94108
   Facsimile: (415) 836-2501                    Telephone: (415) 738-5705

  Melissa A. Reinckens                          Rob Potter
  401 B Street, Suite 1700                      Briggs M. Wright
  San Diego, CA 92101                           Kilpatrick Townsend & Stockton LLP
  Telephone: (619) 699-2798                     1114 Avenue of the Americas
  Facsimile: (619) 764-6624                     New York, New York 10036
                                                Telephone: (212) 775-8733
   Jane W. Wise
   500 Eighth Street, NW                        Jeffrey B. Morganroth
   Washington, D.C. 20004                       Morganroth & Morganroth, PLLC
   Telephone: (202) 799-4149                    344 N. Old Woodward Ave, #200
   Facsimile: (202) 863-7849                    Birmingham, MI 48075
                                                Telephone: (248) 864-4001
   Attorneys for Plaintiff Nike, Inc.
                                                Attorneys for Defendant StockX LLC


Application GRANTED. The March 17, 2023, conference is adjourned until Friday,
April 7, 2023, at 10 AM in Courtroom 443 of the Thurgood Marshall Courthouse, 40
Foley Square, New York, New York, 10007. The parties' pre-conference submissions are
due on March 30, 2023. No further adjournment requests will be granted absent
exceptionally good cause.

SO ORDERED.

                                              03/02/2023

HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
